Case 4:09-cr-00043-SPF Document 113 Filed in USDC ND/OK on 08/05/09 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA

                    Plaintiff,
                                               Case No. 09-CR-043-SPF

v.

LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY

                    Defendants.

     MOTION FOR LEAVE TO FILE OUT OF TIME PROPOSED JURY INSTRUCTIONS

      Lindsey Kent Springer (“Springer”) moves the Court to allow him to file his

proposed jury instructions 2 days out of time. Springer was required by order of

this Court to submit initial proposed jury instructions to the United States and this

Court no later than August 3, 2009. On August 3, 2009, Springer filed a Motion to

allow him additional time to finalize those proposals since trial is set for October

26, 2009 and no party would be prejudiced. This Court on August 4, 2009, issued

an order denying Springer’s Motion for the 10 extra days.

      The 2 days was needed to narrow the proposed instructions from over 40

down to just 24 at this point.

      Springer has attached to this Motion his proposed jury instructions as Exhibit

A. If this Motion is Granted what Springer has attached will be exactly what he

intends to propose at this stage of the jury instruction battle.

      Therefore, Lindsey Kent Springer respectfully request this Court to Grant

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Case 4:09-cr-00043-SPF Document 113 Filed in USDC ND/OK on 08/05/09 Page 2 of 3




him leave to file his proposed jury instructions 2 days out of time.



                                 Respectfully Submitted
                                 /s/ Lindsey K. Springer
                                 Lindsey K. Springer
                                 5147 S. Harvard, # 116
                                 Tulsa, Oklahoma 74135
                                 918-748-5539/955-8225(cell)




                                          2
Case 4:09-cr-00043-SPF Document 113 Filed in USDC ND/OK on 08/05/09 Page 3 of 3




                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of Lindsey Kent Springer’s

Motion for Leave to File Proposed Jury Instructions 2 days out of time was ecf’d on

August 5, 2009 to:



Kenneth P. Snoke,
Charles O’Reilly,
Oscar Stilley




                         /s/ Lindsey K. Springer
                         Signature




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